              Case 2:22-cr-00001-TL         Document 52       Filed 01/03/23     Page 1 of 2




 1

 2

 3

 4

 5

 6

 7

 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                        AT SEATTLE

10

11      UNITED STATES OF AMERICA,                            CASE NO. CR22-001 TL
12                             Plaintiff,
                v.
                                                             ORDER GRANTING LEAVE TO
                                                             FILE OVER-LENGTH MOTIONS
13
        SHABNAM DAWN PILISUK,                                AND REPLIES
14
                               Defendant.
15

16

17
            On December 29, 2022, the parties filed a Joint Motion for Filing of Over-length Motions
18
     and Replies. Dkt. No. 50. Motions are due by January 3, 2023. Other than a recitation of the
19
     local rules and chambers procedures, the motion provides no information as to why over-length
20
     motions are required or how many additional pages are requested. While the Court could deny
21
     the motion on those grounds, given that the request is a joint one, the Court will GRANT the
22

23

24


     ORDER GRANTING LEAVE TO FILE OVER-LENGTH MOTIONS AND REPLIES - 1
              Case 2:22-cr-00001-TL         Document 52       Filed 01/03/23      Page 2 of 2




 1   motion and allow the parties leave to file briefs of 24 pages and replies of 12 pages, which is

 2   twice the limits allowed by the local rules.

 3

 4          Dated this 3rd day of January 2023.

 5

 6
                                                          A
                                                          Tana Lin
                                                          United States District Judge
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24


     ORDER GRANTING LEAVE TO FILE OVER-LENGTH MOTIONS AND REPLIES - 2
